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February 28, 2024


Honorable Zahid N Quraishi,
U.S.D.C. of New Jersey
MLK Jr Federal Building
50 Walnut Street Newark, NJ 07101


Re:    Kim, et al v. Hanlon, et al
       U.S.D.C. NJ Docket No. 3-24-cv-01098


Dear Judge Quraishi:


       This office represents the following county clerks as named defendants in the within action:
Mary H. Melfi, in her capacity as Hunterdon County Clerk; Rita M. Rothberg, in her official
capacity as Cape May County Clerk; Celeste M. Riley, in her official capacity as Cumberland
County Clerk; and James N. Hogan, in his official capacity as Gloucester County Clerk. New Jersy
County Clerks are not statutory officers but serve and derive their powers as Constitutional
Officers, under the New Jersey Constitution, and for terms of five years. In their administration of
the election laws, a County Clerk serves and functions as an umpire and not a player in the political
process.


       This submission is in anticipation of issues and concerns which we believe will arise in the
scheduled conference for tomorrow, February 29, 2024 and thereafter,


       As the Court is well aware, an election merely culminates on a specific day but commenced
many months before and is a process and series of processes not one singular event,

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       Long before the “day of the election” election officials and specifically the actions of the
Clerks are to conduct, coordinate, communicate, and collaborate in actions and activities which
become a confluence culminating in the election. Election officials, and addressing specifically
the County Clerks address and receive nominating petitions, bracketing requests, ballot slogan
designations, lists of party county committee persons, drawing for party and candidate ballot
positions. Simultaneously they design, designate, print, and distribute the “ballots” for use in Vote
By Mail, Emergency ballots, Sample ballots, etc. The Clerks solicit specific types and sizes of
paper for the machines and ballots, and. engage specialized printers to print the paper ballots.
These are but some but not all actions in which the Clerk engages for an election.


       The most demanding and detailed actions the Clerk is charged with the layout, design,
candidate placement, public questions placement, candidate lines and bracketing to fit into the face
and limited ballot geography of the various voting machines.


       Similarly, political entities and candidates engage in activities from fund raising, party
building, membership retention and recruitment, issue review, voter registration drives, candidate
recruitment, issue and opposition research, candidate screening and selection federal, state, county
and municipal nominating conventions and meeting.


       Thus at this late date in the process, any actions sought by the Plaintiff Kim, considered by
this Court or orders entered will have cascading and rippling effects on the election, officials,
candidates and voters. Thus, we raise concerns about timing of actions, disruption of the ongoing
election process and ultimately effect and impact on the voters.


       The statutes and case law of New Jersey make clear that the ballot is drawn and designed
to assist the voters first and foremost, and not afford advantage or preference to candidates and
political parties. New Jersey courts have repeatedly identified the legislative policy in ballot
design, layout and candidate bracketing and affiliation is the voter: "…to permit voters to record
their will, the ballot being so arranged that all voters may find their candidates with the least



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difficulty the total content of the ballot will permit." Farrington v. Falcey, 96 N.J. Super. 409, 414
(App. Div. 1967);


POINT I:       ARE ALL THE NECESSARY AND INDISPENSABLE PARTIES AWARE
               OF THIS PROCEEDING AND NAMED TO PROTECT THEIR
               INTERESTS?

       Plaintiff Kim in this long-delayed application has not presented to this Court, acquired
jurisdiction, or afforded notice upon all those persons and entities who have an interest effected
and who have a right to be heard on this relief. Whether the political parties, other candidates up
and down the ballot, or voter interest groups Plaintiff Kim has but singularly and solely sought his
own political concerns and benefits. Thus there has been a failure to join many indispensable
parties pursuant to FRCP Rule 19. "Federal Rule of Civil Procedure 19 specifies the circumstances
in which the joinder of a particular party is compulsory." Gen. Refractories Co. v. First State Ins.
Co., 500 F. 3d 306, 312 (3d Cir. 2007). Tullett Prebon PLC v. BGC Partners, Inc., 427 F. App'x
236, 239 (3d Cir. 2011) The Plaintiff, parties and the Court must address this issue.




POINT II:      JUDICIAL INTERVENTION AND DISRUPTION OF THE ONGOING
               ELECTORAL PROCESS IS TO BE AVOIDED


       The focus of the law in elections and this Court should be "[P]reserving the integrity" of
elections is "indisputably . . . a compelling interest." Eu v. San Francisco Cty. Dem. Cent. Comm.,
489 U.S. 214, 231 (1989). Maintaining "[c]onfidence in the integrity of our electoral processes is
essential to the functioning of our participatory democracy." Purcell v. Gonzalez, 549 U.S. 1, 4
(2006). While counterintuitive, the function of an election is not to choose a winner, but to assure
the voters and other candidates that the loser lost fair and square.



       Judicial intervention into an election process close to the final day of the elections is not
encouraged and is eschewed. This is ensured by courts denying disruptive and untimely
applications for judicial intervention into an election process which is underway.




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       As enunciated by the U.S. Supreme Court, the “Purcell Principle” holds that courts should
not change election rules during the period of time just prior to an election because doing so could
confuse voters and create problems for officials administering the election. The principle takes its
name from Purcell v. Gonzalez, in which the Supreme Court reversed an October 2006 decision
of the U.S. Court of Appeals for the 9th Circuit blocking an Arizona voter ID law during that year’s
midterm election, seeking to protect the public and their expectations enshrined in what they have
done or been told previously. ("Court orders affecting elections ... can themselves result in voter
confusion and consequent incentive to remain away from the polls. As an election draws closer,
that risk will increase.") Purcell, supra. pp. 4-5 The dangers and disruption of judicial intervention
have been well identified by the Court.



       Thereafter U.S. Supreme Court in Republican National Committee, et al. v. Democratic
National Committee, et al. , 140 S. Ct. 1205, 1207 (2020) ) re-asserted and re-affirmed the “Purcell
Principle.” The “Purcell Principle” which looks to protect the rights of the voter, where there is
held to be a presumption against last-minute changes to election procedures. The issue was that
one day prior to Wisconsin’s April primary election, the Supreme Court blocked a district court
ruling issued five days before the election that extended the deadline for submitting absentee
ballots. The district court based its decision on an immense backlog of absentee ballot requests
due to concerns about voting in person during the coronavirus pandemic. Local election officials
were unable to process the unprecedented volume of requests that were timely under state law.
Citing Purcell, the Supreme Court found that the district court should not have changed the election
rules in the specific way that it did so close to the election. see also Democratic Nat’l Comm. v.
Wis. State Legislature, 141 S. Ct. 28, 28 (2020) (mem.) (Roberts, C.J., concurring) (staying judicial
intervention “in the thick of election season”).


       And as found by our court in this district in Democratic-Republican Org. of N.J. v.
Guadagno, 900 F. Supp. 2d 447, 461 n.8 (D.N.J. 2012) "As in many election related cases, timing
is critical.... At this late state in the election process, any injunctive remedy ordered by this Court
would dramatically upset ongoing ballot printing and distribution.” (see also Tex. Democratic
Party v. Abbott, 961 F.3d 389 (5th Cir. 2020); Public Interest Legal Foundation v. Boockvar, 495


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F. Supp. 3d. 354, 356 (M.D. Pa. 2020) denying relief sought two- and one-half weeks before a
national election “…because Plaintiff waited until the eleventh hour to file this suit.”


        In a matter similar to this pending application is one reported in the Third Circuit and
should be the guidance for the Count in this matter. The Honorable Gerald John Pappert, USDC
E.D. Pa characterized a similar disruptive judicial application for last minute changes to the
election process. As found by Judge Pappert, “Here the Plaintiff elected to file its suit on the eve
of the national election. There was no need for this judicial fire drill and Plaintiffs offer no
reasonable explanation or justification for the harried process they created." Republican Party of
Pa. v. Cortes , 218 F.Supp. 3d 396, 405 (E.D. Pa. 2016)p. 405 (emphasis added)


        The holding of Judge Pappert is most applicable here and in support of denial of this
pending application:
                   There is good reason to avoid last-minute intervention in a state's
                   election process. Any intervention at this point risks practical
                   concerns including disruption, confusion or other unforeseen
                   deleterious effects. See City of Philadelphia, 2006 WL 3922115, at
                   *2 (citing Purcell, 549 U.S. at 5, 127 S.Ct. 5). Comity between the
                   state and federal governments also counsels against last-minute
                   meddling. Federal intervention at this late hour risks "a disruption
                   in the state electoral process [which] is not to be taken lightly." Id.
                   (quoting Page v. Bartels, 248 F.3d 175, 195-96 (3d Cir. 2001)). "This
                   important equitable consideration goes to the heart of our notions of
                   federalism." Id. Pp. 404-405


        Plaintiff Kim by his own pleadings before the Court has for months been engaged in his
re-election effort seeking endorsements, support of local and county political organizations, and
bracketing with their county lines. Yet now after those efforts and the entry of other candidates
into the process, he seeks not to tinker and tweak the process but tear and tumble down the process
he participated in and sought the benefits for his candidacy. Perhaps whimsey or waiver of any
right to relief?



        When is an application under Purcell too late? The Supreme Court has refused to bless and


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give approbation for judicial intervention as follows:

   •   21 days before the general election Veasey v. Perry, 574 U.S. 951 (2014)

   •   34 days before the general election Merrill v. People First of Alabama, 141 S. Ct. 25 (2020)

   •   46 days before the general election Andino v. Middleton, 141 S. Ct. 9 (2020)

   •   48 days before the primary election Raysor v. DeSantis, 140 S. Ct. 2600 (2020)

   •   92 days before the primary election Moore v. Harper, 142 S. Ct. 1089 (2022)

   •   120 days before the primary election Merrill v. Milligan, 142 S. Ct. 879, 879 (2022)

                                          CONCLUSION

       Our concerns as have been addressed above, do not necessarily oppose the ultimate relief

but to ensure the protection of the election process and the interests of the voter.



Respectfully submitted,

/s/John M. Carbone

John M. Carbone

CC:    All Counsel of record (PACER) and E-mail/




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